         Case 5:20-mc-00001-HE Document 9 Filed 03/24/20 Page 1 of 5
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 1 of 28 PageID 5789



                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF OKLAHOMA

                                                            §
                                                            §
  ACKERMAN MCQUEEN, INC.,                                   §
  MERCURY GROUP, INC., HENRY                                §
  MARTIN, WILLIAM WINKLER,                                  §
  MELANIE MONTGOMERY, and JESSE                             §
  GREENBERG,                                                §
    Movants.                                                § Miscellaneous Case No. A20MC149 LY
                                                            §
  v.                                                        § Related to Civil Action No. 3:19-cv-02074-G
                                                            § (N.D. Tex.)
  NATIONAL RIFLE ASSOCIATION OF                             §
  AMERICA and WAYNE LA PIERRE,                              §
    Respondents                                             §
                                                            §




RESPONDENT NATIONAL RIFLE ASSOCIATION OF AMERICA’S OPPOSITION TO
        MOVANTS’ MOTION TO QUASH THIRD-PARTY SUBPOENA

                                                       I.

                                 BACKGROUND AND ARGUMENT

        Respondent National Rifle Association of America (“NRA”) incorporates by reference as

if fully set forth herein, its Response and Objection to Movants’ Motion to Quash Third-Party

Subpoenas, 1 as its opposition to Movants’ Motion to Quash Third-Party Subpoena to Integris

Health, Inc. For the reasons set forth therein, Movants’ repetitive Motion to Quash should be

denied, or in the alternative, should be transferred to the United States District Court for the

Northern District of Texas for resolution.




       1
         Ackerman McQueen Inc., et al., v. National Rifle Association of America, et al., Case No. 5:20-mc-00001-
HE (W.D. Ok.), Respondent National Rifle Association of America’s Response and Objection to Movants’ Motion to
Quash Third-Party Subpoenas [Doc. No. 1], ECF No. 6, filed February 21, 2020.

                                                       1
         Case 5:20-mc-00001-HE Document 9 Filed 03/24/20 Page 2 of 5
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 2 of 28 PageID 5790



        By way of background, the NRA first attempted to serve a third-party subpoena upon

Integris Health, Inc., on January 28, 2020. 2 Unfortunately, the NRA inadvertently addressed this

initial subpoena to the incorrect address, and therefore the subpoena was never properly served. 3

Movants, however, filed a Motion to Quash the January 28th subpoena on February 7, 2020, with

this Court. 4 The NRA then filed its Response and Objection dated February 21, 2020. 5 On

February 25, 2020, this Court appropriately transferred the matter to the United States District

Court for the Northern District of Texas, where the underlying case is being litigated.

        The NRA thereafter issued an Amended Subpoena to Integris Health, Inc., amended only

to include the correct service address, and served it on Integris Health on February 20, 2020. 6

Movants have now essentially refiled their Motion to Quash the NRA’s third-party subpoena to

Integris Health, Inc., 7 raising identical arguments as those raised in its initial Motion. 8 Thus, the

NRA responds to Movants’ unnecessary and repetitive Motion to Quash by fully incorporating the

arguments already raised before this Court, and set forth in the NRA’s Response in Opposition to

Movants’ Motion to Quash, as if fully set forth herein.

        In general, Movants again contend that the subpoena is overbroad, seeks irrelevant and

confidential information, and subjects the recipient, Integris Health, Inc., to undue burden.

Notably, Integris Health, Inc., has not filed an objection based on undue burden or otherwise. As


        2
            See Subpoena to Produce Documents to INTEGRIS Health, Inc., attached hereto as Exhibit (“Ex.”) 1.
        3
           See Proof of Service for Subpoena to INTEGRIS Health, Inc., showing failure to serve subpoena due to
“insufficient” address, attached hereto as Ex. 2.
        4
            See Motion to Quash Third-Party Subpoenas, ECF No. 1, filed February 7, 2020.
       5
         See Respondent National Rifle Association of America’s Response and Objection to Movants’ Motion to
Quash Third-Party Subpoenas [Doc. No. 1], ECF No. 6, filed February 21, 2020.
        6
          See Proof of Service of Amended Subpoena to Integris Health, Inc., showing service to the company was
achieved on February 20, 2020, attached hereto as Ex. 3.
        7
            See Motion to Quash Third Party Subpoena on Integris Health, Inc., ECF No. 8, filed March 3, 2020.
        8
            See Motion to Quash Third-Party Subpoenas, ECF No. 1, filed February 7, 2020.
         Case 5:20-mc-00001-HE Document 9 Filed 03/24/20 Page 3 of 5
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 3 of 28 PageID 5791



set forth more fully in the NRA’s Response in Opposition to Movants’ Motion to Quash, Movants,

however, do not have standing to challenge this subpoena in the first place, and their arguments

are unsupported.

        This Court should abide by its previous ruling transferring the initial Motion to Quash to

the Northern District of Texas for resolution. 9 As stated in the Honorable Judge Joe Heaton’s

February 25th Order, this Court found “exceptional circumstances” existed to allow the United

States District Court to transfer the case “in order to avoid disrupting the issuing court’s

management of the underlying litigation, as when that court has already ruled on issues presented

by the motion or the same issues are likely to arise in discovery in many districts.” 10

        The same exceptional circumstances apply to the identical subpoena to Integris Health,

Inc., issued on February 20, 2020. As set forth more fully in the NRA’s response in opposition to

Movants’ first Motion to Quash, and as rightfully acknowledged in this Court’s February 25th

Order, the United States District Court for the Northern District of Texas has the greatest

familiarity with the underlying case. The Northern District of Texas is also presently considering

various Motions to Quash other subpoenas, motions to compel discovery, and a motion to dismiss.

For the same reasons that transfer of the first Motion to Quash was appropriate, transfer of the

present repetitive motion is appropriate under the exceptional circumstances equally and still

present here. As stated in the February 25 order, “[i]n the absence of objection to compliance from

the subpoena recipient[], and as the remaining issues appear to be tied closely to relevance or other




        9
          See J. Heaton’s Order in Ackerman McQueen Inc., et al., v. National Rifle Association of America, et al.,
Case No. 5:20-mc-00001-HE (W.D. Ok.), ECF No. 7, dated February 25, 2020.
        10
             See id.
         Case 5:20-mc-00001-HE Document 9 Filed 03/24/20 Page 4 of 5
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 4 of 28 PageID 5792



related issues in the case,” this Court should likewise conclude that “there are exceptional

circumstances here within the meaning of Rule 45.” 11

                                                        II.

                                               CONCLUSION

        For the reasons set forth above, Respondent respectfully requests the Court transfer the

repetitive Motion to the Northern District of Texas or deny the Motion or, if necessary, modify the

subpoena. Respondent further requests that this Court award its attorneys’ fees and costs incurred

in responding to this unnecessary Motion, and any other relief which the Court deems proper.



Dated: March 24, 2020                        Respectfully submitted,

                                            LYTLE, SOULE & FELTY, P.C.

                                            By: /s/Matthew K. Felty
                                                   Matthew K. Felty, OBA #31057
                                                   1200 Robinson Renaissance
                                                   119 N. Robinson Avenue
                                                   Oklahoma City, OK 73102
                                                   Telephone: (405) 235-7471
                                                   Facsimile: (405) 232-3852
                                                   mkfelty@lytlesoule.com

                                                     ATTORNEY FOR RESPONDENTS NATIONAL
                                                     RIFLE ASSOCIATION OF AMERICA AND
                                                     WAYNE LAPIERRE




        11
           See J. Heaton’s Order in Ackerman McQueen Inc., et al., v. National Rifle Association of America, et al.,
Case No. 5:20-mc-00001-HE (W.D. Ok.), ECF No. 7, dated February 25, 2020.
         Case 5:20-mc-00001-HE Document 9 Filed 03/24/20 Page 5 of 5
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 5 of 28 PageID 5793



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was electronically

served via the Court’s electronic case filing system upon all counsel of record on this 24th day of

March 2020.



                                             By: /s/Matthew K. Felty
                                             Matthew K. Felty




4819-0487-9543.3
-
       Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 1 of 10
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 6 of 28 PageID 5794




                      Exhibit 1
       Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 2 of 10
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 7 of 28 PageID 5795



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

  NATIONAL RIFLE ASSOCIATION OF         §
  AMERICA,                              §
                                        §
       Plaintiff and Counter-Defendant, §
                                        §
  and                                   §
                                        §
      WAYNE LAPIERRE,                   §
                                        §
      Third-Party Defendant,            §
                                        § Civil Action No. 3:19-cv-02074-G
  v.                                    §
                                        §
  ACKERMAN MCQUEEN, INC.,               §
                                        §
      Defendant and Counter-Plaintiff,  §
                                        §
  and                                   §
                                        §
  MERCURY GROUP, INC., HENRY            §
  MARTIN, WILLIAM WINKLER,              §
  MELANIE MONTGOMERY, AND JESSE §
  GREENBERG,                            §
                                        §
       Defendants.                      §


                                   NOTICE OF SUBPOENA

       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure, Rule

45(A)(4), Plaintiff, the National Rifle Association of America, by and through its counsel of

record, hereby gives notice of a Subpoena to INTEGRIS Health Inc., by service to its registered

corporate agent Timothy Pehrson, at 3300 NW Expressway Oklahoma City, Oklahoma 73112, to

produce any and all responsive documents or tangible things as requested therein. Pursuant to

Fed. R. Civ. P. 34(b)(1)(C), documents shall be produced to Plaintiff in Tagged Image File

Format (“TIFF”) with (a) an extracted text file containing searchable text for each electronic

document, (b) an Optical Character Recognition text file for each imaged paper document, (c)

                                                1
       Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 3 of 10
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 8 of 28 PageID 5796



Metadata Data load file (DAT) and (d) Image load files (OPT). Non-convertible files shall be

produced in native format. A true and correct copy of the Subpoena is attached hereto.




Dated: January 24, 2020                             Respectfully submitted,

                                                    BREWER, ATTORNEYS &
                                                    COUNSELORS


                                               By: /s/ Jason C. McKenney
                                                    Jason C. McKenney
                                                    State Bar No. 24070245
                                                    jcm@brewerattorneys.com
                                                    Michael J. Collins
                                                    State Bar No. 00785493
                                                    mjc@brewerattorneys.com
                                                    1717 Main Street, Suite 5900
                                                    Dallas, Texas 75201
                                                    Telephone: (214) 653-4000
                                                    Facsimile: (214) 653-1015

                                                    ATTORNEYS FOR PLAINTIFF THE
                                                    NATIONAL RIFLE ASSOCIATION OF
                                                    AMERICA




                                               2
       Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 4 of 10
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 9 of 28 PageID 5797



                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon

counsel of record in the above cause via electronic and first-class mail in accordance with the

Federal Rules of Civil Procedure and the Local Rules on January 24, 2020.



                                            /s/ Jason C. McKenney
                                            Jason C. McKenney (State Bar No. 24070245)




4840‐6547‐0898.1




                                               1
                Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 5 of 10
        Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 10 of 28 PageID 5798
AO 88B (Rev. 12/B 3) Subpoena 10 Produce Documents, Jnforn1a1ion, or Objects or 10 Pem1i1 Inspection of Premises in a Civil Action



                                        U NITED STATES D ISTRICT COURT
                                                                            for the
                                                             Northern District of Texas

        The National Rifle Association of America
                                                                                )
                               Plaintiff                                        )
                                   V.                                           )       Civil Action No.          3:19-cv-02074-G
                Ackerman McQueen, Inc., and                                     )
                  Mercury Group, Inc., et al.                                   )
                              Defendant                                         )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                INTEGRIS Health Inc. by service to its registered corporate agent
                               Timothy Pehrson, at 3300 NW Expressway Oklahoma City, Oklahoma 73112
                                                        (Name ofperson to whom this subpoena is directed)

       if
        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
          See Attachment A.


  Place: 6300 Waterford Blvd.,                                                            Date and Time:
         Oklahoma City, OK
                                                                                                              02/10/2020 10:00 am

     0 Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

                                                                                       I Date and Time


       The following provisions offed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), re lating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         01/24/2020

                                   CLERK OF COURT
                                                                                             OR
                                                                                                                  /s/ Jason C. McKenney
                                           Signature ofClerk or Deputy Clerk                                           Allorney 's signature

The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
~T~h=e~N~a=t~io~n=a~
                  IR~ ifl= e~A~s~s=o~c=ia=ti~on~o~f~A~m~e~ri=ca~----------- , w ho issues or requests this subpoena, are:
 Jason C. McKenney 1717 Main Street, Suite 5900, Dallas, TX 75201 ; JCM@BrewerAttorneys.com ; (214) 653-4837

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 6 of 10
        Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 11 of 28 PageID 5799
AO 88B (Rev. 12113) Subpoena to Produce Docwnents, ln fonnation, or Objects or 10 Pennil Inspection of Premis.es in a Civil Action (Page 2)

Civil Action No. 3:19-cv-02074-G

                                                      PROOF OF SERVICE
                      (This section should not he filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name ofindividual and title, ifany)
on (date)


            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                    ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day' s attendance, and the mileage allowed by law, in the amount of
            $


My fees are $                                      for travel and $                              for services, for a total of $                 0.00



            I declare under penalty of perjury that this infonnation is true.


Date:
                                                                                                     Server's signature



                                                                                                  Printed name and title




                                                                                                     Server's address


Additional information regarding attempted service, etc.:
                Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 7 of 10
        Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 12 of 28 PageID 5800
AO 88B (Rev. 12113) Subpoena to Produce Docwnents, lnfonnation, or Objects or 10 Pennil Inspection of Prem is.es in a Civil Action(Page 3)

                             Federal Rule of Civil P rocedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Com plia nce.                                                              (ii) disclosing an unretained expert's opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows :                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within JOO miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties iu Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored infoonation, or                (I ) Producing Doc11111e11ts or Electro11ically Stored / 11for111atio11. These
tangible things at a place within I00 m iles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           infomrntion:
  (B) inspection of premises at the premises to be inspected.                         (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (I) Avoiding U11d11e B11rde11 or Expense; S a11ctio11s. A party or attorney       If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a su bpoena must take reasonable steps         information, the person responding must produce it in a fonn or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Fom1. The
enforce this duty and impose an appropriate sanction- which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees- on a party or attorney who           infomrntion in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored infonnation
 (2) Commmu/ to Pro,luce Materials or Permit /11spectio11.                         from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored infom1ation, or tangible things, or to            order, the person responding must show that the information is not
pernut the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Ru.le
   (B) Objections. A person commanded to produce docwnents or tangible             26(b)(2)(C). The court may s.pecify conditions for the discovery.
things or to pennit inspection may se1ve on the party or attorney designated
in the subpoena a wrinen objection to inspecting, copying, testing, or             (2) Claiming Privilege or Protectio11.
sampling any or all of the materials or to inspecting the premises-or to             (A) information Withheld. A person withholding subpoenaed infonnation
producing electronically stored infonnation in the fonn or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an obj ection is made,           (i) expressly make the claim; and
the following rules apply:                                                             (ii) describe the nature of the w ithheld documents, conununications, or
     (i) At any time, on notice to the com111anded person, the serving party       tangible things in a manner that, w ithout revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) ·n1ese acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Q11ashi11g or M odifyi11g a S11hpoe11a.                                       information and any copies it has; must not use or disclose the infom,ation
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may pmmptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Conte mpt.
  (B) When Permilled. To protect a person subject to or affected by a              The court for the district whe re compliance is req uired-and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court- may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial infonnation; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 8 of 10
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 13 of 28 PageID 5801



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF         §
   AMERICA,                              §
                                         §
        Plaintiff and Counter-Defendant, §
                                         §
   and                                   §
                                         §
       WAYNE LAPIERRE,                   §
                                         §
       Third-Party Defendant,            §
                                         § Civil Action No. 3:19-cv-02074-G
   v.                                    §
                                         §
   ACKERMAN MCQUEEN, INC.,               §
                                         §
       Defendant and Counter-Plaintiff,  §
                                         §
   and                                   §
                                         §
   MERCURY GROUP, INC., HENRY            §
   MARTIN, WILLIAM WINKLER,              §
   MELANIE MONTGOMERY, AND JESSE §
   GREENBERG,                            §
                                         §
        Defendants.                      §


                    ATTACHMENT A TO SUBPOENA DUCES TECUM

                                              I.
                                         DEFINITIONS

       1.     The term “complaint” shall mean the Complaint filed in this case, recorded by the
Court under Civ. No. CL19001757.

        2.      The terms “communication,” “communicate,” and “communicated” shall mean
any oral, written, or recorded utterance, notation, or statement of any nature whatsoever, by and to
whomsoever made, including, but not limited to, correspondence, e-mails, text messages,
conversations, facsimiles, letters, telegrams, cables, telexes, dialogues, discussions, negotiations,
interviews, consultations, telephone calls, agreements, and other understandings, among two or
more persons. The term “communication” includes written summaries of any of the foregoing
communications.



                                                 1
        Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 9 of 10
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 14 of 28 PageID 5802



        3.      The terms “document” and “record” shall mean all writings of any sort and each
term should be construed in its broadest sense to include, but not be limited to, all original and
non-identical copies, whether by reason of marginalia or other notes or alterations, and all
preliminary or subsequent drafts of the following items, whether printed or recorded or reproduced
by any other mechanical or electronic process, or written or produced by hand: agreements,
communications, correspondence, letters, telegrams, cables, telexes, memoranda, records, books,
journals, summaries of records or papers, minutes, calendars, affidavits, recordings (video or
audio), electronic mail, text messages, memoranda of telephone calls, conversations, telephone
calls, meetings, contracts, notes, marginal comments appearing on or affixed to any document, day
timers, date books, messages, letters of credit, invoices, statements of account, financial
statements, receipts, promissory notes, security agreements, deeds of trust, instruments purporting
to grant or evidencing any security interest or lien, loan agreements, projections, working
papers, securities, ledgers, cancelled checks and bank drafts (front and back), check stub receipts,
and other data, documents, papers, or writings of whatever description including, but not limited
to, any data or information which is electronically recorded or shared, contained in any computer,
mobile device, or other information retrievable device or that otherwise can be obtained or
translated through detection devices or other means into any reasonably useable or recordable
format.

        4.      The term “related to” shall mean concerning, relating to, reflecting, referring to,
having a relationship to, pertaining to, identifying, containing, pertinent to, setting forth, showing,
disclosing, describing, explaining, summarizing, evidencing, or constituting, directly or indirectly,
in whole or in part, or to be otherwise factually, legally or logically connected to the subject matter
of the particular Request.

        5.     The terms “You” or “Your” shall mean shall mean the person or entity summoned
in the attached subpoena, including but not limited to, all present and former agents, employees,
representatives, advisors, officers, task force officers, attorneys, consultants, investigators,
individuals, and entities acting on behalf of, or pursuant to, the direction of such person or entity.

        6.     The term “Digital Media” shall mean all digitized content including but not limited
to digital images, software, digital video, web pages, social media, digital audio, news articles,
blog articles, RSS feeds, video content, and any other types of digital content, produced by
individuals or an organization, where a certain brand, products, or services are shown.

        7.     “Viewership Analytics” shall mean any analysis, summary, or presentation of
audience membership or viewership, including but not limited to, statistics, demographics, or any
other type of data related to the audience and viewership of specific TV content, digital content,
or any other type of media programming.

                                          II.
                               REQUESTS FOR PRODUCTION

        1.      Documents that relate to the scope of work and/or services provided to You by
Ackerman McQueen, Inc. (“AMc”) or Mercury Group, Inc. (“Mercury”), including, but not
limited to, identifying all AMc employees, officers, directors, or agents providing such services.


                                                  2
       Case 5:20-mc-00001-HE Document 9-1 Filed 03/24/20 Page 10 of 10
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 15 of 28 PageID 5803



       2.    Documents concerning the Digital Media programming and content or platform
that AMc provided to You, including but not limited to, any Viewership Analytics provided by
AMc and documents concerning how AMc created or otherwise generated the Viewership
Analytics.

     3.     Documents concerning forecasts, predictions, or estimates provided to You by
AMc concerning the Digital Media and content or platform.

       4.      Documents concerning the actual performance or success of the Digital Media
content and platform.

       5.     Budgets for services provided or to be provided by AMc or Mercury to You, that
were prepared by You, AMc, or Mercury concerning the Digital Media content and platform.

       6.      Documents that relate to the amount of money spent by You on the Digital Media
content and platform.

       7.     Bills, invoices, and other requests for payment You received from AMc or Mercury
concerning Digital Media content and platform.

      8.     Documents reflecting any concerns about or requests to AMc for information on
Your Digital Media content and platform, including but not limited to, documents concerning
AMc’s response.




                                              3
        Case 5:20-mc-00001-HE Document 9-2 Filed 03/24/20 Page 1 of 2
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 16 of 28 PageID 5804




                       Exhibit 2
                  Case 5:20-mc-00001-HE Document 9-2 Filed 03/24/20 Page 2 of 2
          Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 17 of 28 PageID 5805
   AO 88B (Rev. 12/ 13) Subpoena lo Produce Documenls, In lonnation, or Object or 10 Pem1i1 In pection o f Premises in a
                                                                                                                         C ivi l Acti on (Page 2)

   Civil Action No. 3:19-cv-02074-G


                                                          PROOF OF SERVICE
                         (This section sluml,1 not be.filed with the court unless required by Fed. R. Civ. P.. 45.)                                      9_.     ..I /1.   A~L
                                                                                             ~ r t ~ {ikAl~4Nt, "6'"({~'V'•C.ret> 1;~                    NJJ''~(t'tl caypr,fQt'C
               ~ceived this subpoena for ~lame ofindividual and title, if any)                ~~~       -rN\o lh'( ~ n,t"'("" A.~ 33oD tJwfir«s1U4. ~~Dk 1suz
                                                                                                                                     I

   on (date)       l\4~J¥tJ ~j.O
               0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                                 on (datej                                     ; or
               ill I returned the subpoena unexecuted because:

                   ~ - t ~ A-t tz:41                          r· "'·
               Unless tbe subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
               tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
               $        -e-
   My fees are $
                         -------  -e                   for travel and $         --f}-
                                                                             -----'"-----
                                                                                                      for services, for a total of $                  0.00


             I declare under penalty of perjury that this infonnation is true.




                                                                  :Qt--c.J A-~v. Jt {'()[&- af::J& C?MfCI ?n,et(C <.:,.rv-,r-
                                                                                                      Printed name and title




                                                                                                         Server 's address

  Additional information regarding attempted service, etc. :

lVl-(.rt. v.JN; Nf)~~-l-e N1.1.~b.c,..b                   ~«tJL( ~e ft.o.cl                 r~c.~ ,/St.rv·lc~.
        Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 1 of 11
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 18 of 28 PageID 5806




                       Exhibit 3
        Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 2 of 11
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 19 of 28 PageID 5807



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

   NATIONAL RIFLE ASSOCIATION OF         §
   AMERICA,                              §
                                         §
        Plaintiff and Counter-Defendant, §
                                         §
   and                                   §
                                         §
       WAYNE LAPIERRE,                   §
                                         §
       Third-Party Defendant,            §
                                         § Civil Action No. 3:19-cv-02074-G
   v.                                    §
                                         §
   ACKERMAN MCQUEEN, INC.,               §
                                         §
       Defendant and Counter-Plaintiff,  §
                                         §
   and                                   §
                                         §
   MERCURY GROUP, INC., HENRY            §
   MARTIN, WILLIAM WINKLER,              §
   MELANIE MONTGOMERY, AND JESSE §
   GREENBERG,                            §
                                         §
        Defendants.                      §


   AMENDED NOTICE OF SUBPOENA FOR PRODUCTION OF DOCUMENTS TO
                        INTEGRIS HEALTH


       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure, Rule 45(A)(4),

Plaintiff, the National Rifle Association of America, by and through its counsel of record, hereby

gives notice of an Amended Subpoena to Integris Health Inc., by service to its registered corporate

agent Christopher M. Hammes, 3366 NW Expressway, Suite 800, Oklahoma City, OK 73112, to

produce any and all responsive documents or tangible things as requested therein. Pursuant to Fed.

R. Civ. P. 34(b)(1)(C), documents shall be produced to Plaintiff in Tagged Image File Format

(“TIFF”) with (a) an extracted text file containing searchable text for each electronic document, (b)

                                                 1
        Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 3 of 11
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 20 of 28 PageID 5808



an Optical Character Recognition text file for each imaged paper document, (c) Metadata Data

load file (DAT) and (d) Image load files (OPT). Non-convertible files shall be produced in native

format. A true and correct copy of the Subpoena is attached hereto



Dated: February 19, 2020                            Respectfully submitted,

                                                    BREWER, ATTORNEYS &
                                                    COUNSELORS


                                               By: /s/ Jason C. McKenney
                                                    Jason C. McKenney
                                                    State Bar No. 24070245
                                                    jcm@brewerattorneys.com
                                                    Michael J. Collins
                                                    State Bar No. 00785493
                                                    mjc@brewerattorneys.com
                                                    1717 Main Street, Suite 5900
                                                    Dallas, Texas 75201
                                                    Telephone: (214) 653-4000
                                                    Facsimile: (214) 653-1015

                                                    ATTORNEYS FOR PLAINTIFF THE
                                                    NATIONAL RIFLE ASSOCIATION OF
                                                    AMERICA


                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served upon

counsel of record in the above cause via electronic and first-class mail in accordance with the

Federal Rules of Civil Procedure and the Local Rules on February 19, 2020.



                                            /s/ Jason C. McKenney
                                            Jason C. McKenney (State Bar No. 24070245)



4846-4139-3332.1
2277-09
                                               2
                Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 4 of 11
        Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 21 of 28 PageID 5809
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                          Northern District of Texas
                                                       __________              __________
             NATIONAL RIFLE ASSOCIATION                                       )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 3:19-cv-02074-G
             ACKERMAN MCQUEEN, ET. AL.                                        )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                 Integris Health Inc., by service to its registered corporate agent
                        Christopher M. Hammes at 3366 NW Expressway, Suite 800, Oklahoma City, OK 73112
                                                       (Name of person to whom this subpoena is directed)

    ✔
    u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
            See Attachment A.


 Place: Renaissance Waterford Hotel,                                                    Date and Time:
           6300 Waterford Boulevard,                                                                         03/04/2020 9:00 am
           Oklahoma City, OK 73118

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         02/19/2020

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                /s/ Jason C. McKenney
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
The National Rifle Association of America                               , who issues or requests this subpoena, are:
Jason C. McKenney 1717 Main Street, Suite 5900, Dallas, TX 75201; JCM@BrewerAttorneys.com; (214) 653-4837

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 5 of 11
        Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 22 of 28 PageID 5810
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:19-cv-02074-G

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 6 of 11
        Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 23 of 28 PageID 5811
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 7 of 11
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 24 of 28 PageID 5812


                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

    NATIONAL RIFLE ASSOCIATION OF         §
    AMERICA,                              §
                                          §
         Plaintiff and Counter-Defendant, §
                                          §
    and                                   §
                                          §
        WAYNE LAPIERRE,                   §
                                          §
        Third-Party Defendant,            §
                                          § Civil Action No. 3:19-cv-02074-G
    v.                                    §
                                          §
    ACKERMAN MCQUEEN, INC.,               §
                                          §
        Defendant and Counter-Plaintiff,  §
                                          §
    and                                   §
                                          §
    MERCURY GROUP, INC., HENRY            §
    MARTIN, WILLIAM WINKLER,              §
    MELANIE MONTGOMERY, AND JESSE §
    GREENBERG,                            §
                                          §
         Defendants.                      §


                              ATTACHMENT A
            TO AMENDED SUBPOENA FOR PRODUCTION OF DOCUMENTS
                         TO INTEGRIS HEALTH, INC.

                                                I.
                                           DEFINITIONS

       1.       The term “AMc” shall mean Ackerman McQueen, Inc. and its subsidiary Mercury
Group, Inc., or any other subsidiary, and all present and former agents, employees, representatives,
advisors, officers, attorneys, consultants, investigators, individuals, and entities acting on behalf of,
or pursuant to the direction of, Ackerman McQueen, Inc or Mercury Group, Inc.

        2.      The terms “communication,” “communicate,” and “communicated” shall mean any
oral, written, or recorded utterance, notation, or statement of any nature whatsoever, by and to
whomsoever made, including, but not limited to, correspondence, e-mails, text messages,
conversations, facsimiles, letters, telegrams, cables, telexes, dialogues, discussions, negotiations,
interviews, consultations, telephone calls, agreements, and other understandings, among two or more
        Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 8 of 11
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 25 of 28 PageID 5813


persons. The term “communication” includes written summaries of any of the foregoing
communications.

        3.      The terms “document” and “record” shall mean all writings of any sort and each
term should be construed in its broadest sense to include, but not be limited to, all original and non-
identical copies, whether by reason of marginalia or other notes or alterations, and all preliminary or
subsequent drafts of the following items, whether printed or recorded or reproduced by any other
mechanical or electronic process, or written or produced by hand: agreements, communications,
correspondence, letters, telegrams, cables, telexes, memoranda, records, books, journals, summaries
of records or papers, minutes, calendars, affidavits, recordings (video or audio), electronic mail, text
messages, memoranda of telephone calls, conversations, telephone calls, meetings, contracts, notes,
marginal comments appearing on or affixed to any document, day timers, date books, messages, letters
of credit, invoices, statements of account, financial statements, receipts, promissory notes, security
agreements, deeds of trust, instruments purporting to grant or evidencing any security interest or lien,
loan agreements, projections, working papers, securities, ledgers, cancelled checks and bank drafts
(front and back), check stub receipts, and other data, documents, papers, or writings of whatever
description including, but not limited to, any data or information which is electronically recorded or
shared, contained in any computer, mobile device, or other information retrievable device or that
otherwise can be obtained or translated through detection devices or other means into any reasonably
useable or recordable format.

        4.      The term “related to” shall mean concerning, relating to, reflecting, referring to,
having a relationship to, pertaining to, identifying, containing, pertinent to, setting forth, showing,
disclosing, describing, explaining, summarizing, evidencing, or constituting, directly or indirectly, in
whole or in part, or to be otherwise factually, legally or logically connected to the subject matter of
the particular Request.

       5.      The term “Person” shall mean refer to either an individual or an entity.

        6.      The term “You,” or “Your,” shall mean the person or entity summoned in the attached
subpoena, including all present and former agents, employees, representatives, advisors, officers,
attorneys, consultants, investigators, individuals, subsidiaries, parent-entities, and entities acting on
behalf of, or pursuant to, the direction of such person or entity.

        7.      The term “information” or “data” shall mean all records or writings of any sort and
shall be construed in its broadest sense to include, but not be limited to, all original and non-identical
copies, whether by reason of marginalia or other notes or alterations, and all preliminary or
subsequent drafts of the following items, whether printed or recorded or reproduced by any other
mechanical or electronic process, or written or produced by hand: agreements, communications,
correspondence, letters, telegrams, cables, telexes, memoranda, records, books, journals, summaries
of records or papers, minutes, calendars, affidavits, recordings (video or audio), electronic mail, text
messages, memoranda of telephone calls, conversations, telephone calls, meetings, contracts, notes,
marginal comments appearing on or affixed to any document, day timers, date books, messages,
letters of credit, invoices, statements of account, financial statements, receipts, promissory notes,
security agreements, deeds of trust, instruments purporting to grant or evidencing any security
interest or lien, loan agreements, projections, working papers, securities, ledgers, cancelled checks
and bank drafts (front and back), check stub receipts, and other data, documents, papers, or writings
of whatever description including, but not limited to, any code, data or information which is
        Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 9 of 11
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 26 of 28 PageID 5814


electronically recorded or shared, contained in any computer, mobile device, or other information
retrievable device or that otherwise can be obtained or translated through detection devices or other
means into any reasonably useable or recordable format.

        8.      The term “Digital Media” shall mean all digitized content including but not limited
to digital images, software, digital video, web pages, social media, digital audio, news articles, blog
articles, RSS feeds, video content, and any other types of digital content, produced by individuals or
an organization, where a certain brand, products, or services are shown.

        9.     “Viewership Analytics” shall mean any analysis, summary, or presentation of
audience membership or viewership, including but not limited to, statistics, demographics, or any
other type of data related to the audience and viewership of specific TV content, digital content, or
any other type of media programming.

        10.     All Requests seek documents dated January 1, 2015 and later, unless otherwise
indicated in a particular Request.

        11.     To the extent that you harbor concerns about any of the requests propounded herein,
you are directed to contact counsel for Plaintiff, the National Rifle Association of America, as soon
as practicable to enable Plaintiff to timely resolve or otherwise address such concerns.

                                           II.
                                REQUESTS FOR PRODUCTION

         1.     Documents and communications that relate to the scope of work and/or services
provided to You by AMc, including, but not limited to, identifying all AMc employees, officers,
directors, or agents providing such services.
        2.      Documents and communications concerning the Digital Media programming,
content, and/or platform that AMc provided to You, including but not limited to, any Viewership
Analytics provided by AMc and documents and communications concerning how AMc created or
otherwise generated the Viewership Analytics.

       3.     Documents and communications concerning forecasts, predictions, or estimates
provided to You by AMc concerning the Digital Media content or platform.

       4.     Documents and communications concerning the actual performance or success of
the Digital Media content or platform.

        5.    Budgets for services provided or to be provided by AMc to You concerning the
Digital Media content or platform.

       6.     Documents and communications that relate to the amount of money spent by You on
any Digital Media content or platform developed and managed by AMc.

        7.    Bills, invoices, and other requests for payment You received from AMc concerning
Digital Media content or platform.

        8.     Documents and communications reflecting any concerns about or requests to AMc
for information on Your Digital Media content or platform, including but not limited to, documents
concerning AMc’s response.
                                                3
       Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 10 of 11
Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 27 of 28 PageID 5815




4852-2813-7140.2
-




                                     4
               Case 5:20-mc-00001-HE Document 9-3 Filed 03/24/20 Page 11 of 11
        Case 3:19-cv-02074-G-BK Document 84 Filed 04/01/20 Page 28 of 28 PageID 5816
AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:19-cv-02074-G

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)       J_- Z   tJ.- Z   0


            rtliserved the subpoena by delivering a copy to the named person as follows:            ~ oc Ul'U~...fc lv     s~-r:-c/              ~/c.

         _M/or-. 4ru✓t.yt:1_'!_4,,,, r4~               ,,~~<;.!__/±S__r,_f/4,,. ./ "t.Jho , S d(>tj"'"' fe-el 6 ac~~.p_£. ,v:J1_,_{,_"t!..,
        ()VI.., ze.4-L~ e1£ f-14/ey/s J-1~41-IL, ;:l'!C..                  . on (date) ~ ·'2.<' -z 6                                   ;   or /I>: 2 I~.__
          31 ~ ;Jt.J €1C/reS"fwtt.>.r, )vr,:./G fb1J ,ok./,t,,,,,,._,.. f!~.:./;,, ()/Ll,t.t)_ ?Tin.
            0 I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $            0

My fees are$                 - 6                  for travel and $                  e           for services, for a total of$                0.00


            I declare under penalty of perjury that this information is true.


Date:       J-/zP/"Go                                                           z0z ;                              ,C,,._.___..C
                                                                                                  Server 's signature

                                                                    Jlf_-1/(le;,_ Y
                                                                                          T
                                                                                                 .- p_       /4cesJ
                                                                                                Printed name and title
                                                                                                                                   J:~c.1-c.c

                                                               I J J.-t      .A/.   c. /~-Nv Yr~~-?, ok. c / a/4-                            7   f   / / 7
                                                                                                   Server's addresf

Additional information regarding attempted service, etc.:
